   Case 4:23-cv-00052       Document 36       Filed on 01/03/24 in TXSD       Page 1 of 2
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   January 04, 2024
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


JANICE JACKSON, et al.,                       §
                                              §
         Plaintiffs,                          §
                                              §
VS.                                           §   CIVIL ACTION NO. 4:23-CV-00052
                                              §
CITY OF HOUSTON,                              §
                                              §
         Defendant.                           §

                                          ORDER

       The Court, having reviewed Defendant, City of Houston’s, Motion to Certify this

Court’s October 26, 2023, Order [Doc. 28], for interlocutory appeal, and being duly

advised and having considered that Defendant will suffer substantial expense, damage or

injury if the order is erroneous and the determination of the error is withheld until after

judgment; and the order involves a “controlling question of law” on standing concerning

the only Defendant in this lawsuit, and there is a substantial ground for difference of

opinion on this issue in light of the cases identified in Defendant’s Motion [Docs. 31, 17,

26], and the resolution of this question on interlocutory appeal would terminate this

litigation once and for each party of the lawsuit, and, therefore, the certification of appeal

is in everyone’s best interests; the Court determines that there is no just reason for delay

and good cause has been shown to allow interlocutory appeal of this matter.

       Therefore, the Defendant’s Motion to Certify Order for Interlocutory Appeal is

GRANTED.

1/2
   Case 4:23-cv-00052       Document 36         Filed on 01/03/24 in TXSD   Page 2 of 2




       It is, therefore, ORDERED that the Court’s order dated October 26, 2023, is hereby

certified for interlocutory appeal [Doc. 28].

       It is so ORDERED.

      SIGNED on January 3, 2024, at Houston, Texas.


                                                    _______________________________
                                                    Kenneth M. Hoyt
                                                    United States District Judge




2/2
